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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of Connecticut

                  United States of America                            )
                               V.                                     )
                                                                      )     Case No. 3:19MJ /    l/-'&      (SALM)
                                                                      )
                                                                      )
                   Kevin Iman McCormick                               )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or aboutthe date(s) of                 September 2019 to present        in the county of    New Haven and elsewhere       in the

-------                District of            Connecticut       , the defendant(s) violated:

            Code Section                                                      Offense Description

            18 U.S.C. § 2339B                          Attempting to Provide Material Support and Resources
                                                       to a Foreign Terrorist Organization (FTO)




         This criminal complaint is based on these facts:
See attached Affidavit of Samuel Wharton, Special Agent, Federal Bureau of Investigation (FBI).




         ~ Continued on the attached sheet.




                                                                                          Samuel Wharton SA FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:             10/21/2019                                                      /s/ Sarah A. L. Merriam, USMJ
                                                                                                 Judge 's signature

City and state:                  New Haven , Connecticut                      J:llilft. Sarah A. L. _Merriam U.S. Ma istrate Judge_
                                                                                               Printed name and title
